Case 5:21-cr-00057-FJS Document 1 Filed 11/18/20 Page 1 of 6




                                               599 (TWD)
           Case 5:21-cr-00057-FJS Document 1 Filed 11/18/20 Page 2 of 6




           AFFIDAVIT OF DEA TASK FORCE OFFICER DANIEL BABBAGE

Daniel Babbage, being duly sworn, deposes and says:

I. INTRODUCTION

   1. I am a public servant of the kind specified in the New York State CPL 690.05(1), my title

being a Police Officer. I have been a sworn member of the Syracuse Police Department since

November 1995. I am currently assigned to the United States Department of Justice, Drug

Enforcement Administration (DEA) Syracuse Resident Office as a Task Force Officer. I have

been a sworn member of the DEA Syracuse Resident Office Task Force since November 2019.

As such I am an “investigative or law enforcement officer” of the United States within the meaning

of Section 2510(7) of title 18, United States Code, that is, an officer of the United States who is

empowered by law to conduct investigations and to make arrests for offenses enumerated in Title

21 United States Code, Section 801, et seq. and Title 18, United States Code, Section 2516. I have

attended    the   following     trainings/schools:    DEA      Basic    Narcotics     School,    DEA

Supervisor/Leadership School, Interview & Interrogation School, Highway/ Transit Drug

Interdiction School, Instructor Development School, Dignitary/Executive Protection School,

Firearms Instructor School, Basic SWAT/Hostage Rescue School & Basic Explosive Breacher

Course. I have participated in numerous successful investigations into illicit drug distribution

networks and have interrogated numerous defendants, informants and others who were either

sellers, distributors, or users of narcotics and other illicit drugs. Also, I have been involved in the



                                                  1
           Case 5:21-cr-00057-FJS Document 1 Filed 11/18/20 Page 3 of 6




monitoring, intercepting and recording of court-ordered wiretaps, and have participated in

numerous search warrants/arrest warrants involving narcotics trafficking. In addition to my above-

mentioned experience, I have had the opportunity to speak with and observe other federal, state

and city narcotics officers with regard to the manner in which narcotics are possessed, sold, and

distributed in the Syracuse, NY area.

   2. I have participated in numerous searches of residences, businesses and vehicles in which

controlled substances, drug paraphernalia, currency, and records were discovered. My experience

as well as conversations with other law enforcement officers, as detailed herein, will serve as the

basis for any opinions or conclusions set forth below. I have personally participated in the

investigation of the offenses set forth below and as a result of my participation and my review of

past and present reports made by other Special Agents of the DEA, and other state and local law

enforcement agencies, I am fully familiar with the facts and circumstances of this investigation. I

have participated in several multi-agency narcotics investigations. During the course of these

investigations, I have conducted or participated in surveillance, undercover transactions, execution

of search warrants, debriefings of informants, and reviews of tape-recorded conversations and

narcotics records.

   3. I submit this affidavit in support of a criminal complaint charging defendant JAHDIER

DOWDELL with (i) possession with intent to distribute a controlled substance, to wit: fentanyl,

a Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1),

and 841(b)(1)(C); and (ii) possession of a firearm in furtherance of a drug trafficking crime in

violation of Title 18, United States Code, Section 924(c)(1)(A).




                                                 2
           Case 5:21-cr-00057-FJS Document 1 Filed 11/18/20 Page 4 of 6




II. BASIS OF INFORMATION

   4. As this affidavit is being submitted for the limited purpose of providing probable cause to

support charging JAHDIER DOWDELL with possession with intent to distribute controlled

substances and possession of a firearm in furtherance of a drug trafficking crime, I have not

included each and every fact known to me concerning this investigation. I set forth only the facts

which I believe are necessary to establish probable cause for the issuing of a criminal complaint.

III. PROBABLE CAUSE

   5. On November 17, 2020, I applied for a warrant to search a residence located Harold Street

in Syracuse, NY (the Harold Street Residence). As I explained in the application in support of that

search warrant, over the past two months, law enforcement has repeatedly observed JAHDIER

DOWDELL coming and going from the Harold Street Residence in ways suggesting that he lived

there. Some of the surveillance of DOWDELL coming and going from the Harold Street

Residence was connected to suspected drug trafficking activity. This Court (Hon. Thérèse Wiley

Dancks, USMJ) issued the requested search warrant that same day (November 17, 2020).

   6. On the morning of November 18, 2020, law enforcement was positioned outside the Harold

Street Residence in anticipation of executing the search warrant. Officers observed a vehicle

parked in front of the Harold Street Residence with an individual sitting in the driver’s seat.

Thereafter, surveillance observed DOWDELL and a female exit the Harold Street Residence and

walk towards the vehicle. DOWDELL was observed carrying two black bags. DOWDELL

entered the front passenger seat of the vehicle and the female got into the back seat.

   7. The vehicle began to drive away from the area and law enforcement conducted a stop of

the vehicle. Law enforcement located in the floorboard of the front passenger seat where

DOWDELL was seated two black bags consistent in appearance with those that surveillance



                                                 3
             Case 5:21-cr-00057-FJS Document 1 Filed 11/18/20 Page 5 of 6




observed DOWDELL carrying when he got into the vehicle. In one of the bags, officers located

a Glock model 26 9mm semiautomatic handgun with serial number WRV117. The handgun was

loaded with one round in the chamber and six rounds in the magazine. In the same black bag as

the gun, officers located approximately eighteen (18) “bricks” and four (4) “bundles” 1 (for a total

of 940 bags) of heroin. In the other black bag located in the floorboard, officers found a sum of

United States currency.

      8. The suspected heroin was transported to the DEA Syracuse Regional Office. A sample of

the suspected heroin was field tested and was presumptively positive for the presence of fentanyl.

I know from my training and experience that the quantities of drugs possessed by DOWDELL are

more than for individual use and are consistent with distribution.

IV. CONCLUSION

      9. I believe the foregoing establishes probable cause to believe that defendant JAHDIER

DOWDELL (i) possessed with intent to distribute a controlled substance, to wit: fentanyl, a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1),

and 841(b)(1)(C); and (ii) possessed a firearm in furtherance of a drug trafficking crime in violation

of Title 18, United States Code, Section 924(c)(1)(A).

      10. I respectfully request that the Court authorize the filing of this complaint so that the

defendants may be charged and brought to court for further proceedings in accordance with the

law.

          ATTESTED TO BY THE APPLICANT IN ACCORDANCE WITH THE




1
    A “brick” is 50 individual dose bags of heroin and a “bundle” is 10 individual bags.
                                                  4
Case 5:21-cr-00057-FJS Document 1 Filed 11/18/20 Page 6 of 6
